                             IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE DISTRICT OF DELAWARE


In re:                                                                Chapter 11

AMYRIS, INC., et al.,                                                 Case No. 23-11131 (TMH)

                                   Debtors. 1                         (Jointly Administered)


                             OMNIBUS NOTICE OF WITHDRAWAL OF
                              DEBTORS’ NOTICES OF DEPOSITION


          PLEASE TAKE NOTICE that Amyris, Inc., et al, the above-captioned debtors and

debtors in possession (the “Debtors”) hereby withdraws the following:

          1.         Debtors’ Notice of Deposition of Richard Zaden;
          2.         Debtors’ Notice of Deposition of Kimberly Barbar;
          3.         Debtors’ Notice of Deposition of Seth Wise;
          4.         Debtors’ Notice of Deposition of Steven Coldren;
          5.         Debtors’ Notice of Deposition of Stephen Lipton;
          6.         Debtors’ Notice of Deposition of Benett R. Marshall;
          7.         Debtors’ Notice of Deposition of Jarett S. Levan;
          8.         Debtors’ Notice of Deposition of Bryan Abboud;
          9.         Debtors’ Notice of Deposition of Ross Vigran;
          10.        Debtors’ Notice of Deposition of Qiushi Fu;
     11.      The Debtors’ Notice of 30(b)(6) Deposition of the Dara Levan 2023 Grat,
Member of the Ad Hoc Cross-Holder Group;
     12.      The Debtors’ Notice of 30(b)(6) Deposition of the Abboud Limited Partnership,
Member of the Ad Hoc Cross-Holder Group;
     13.      The Debtors’ Notice of 30(b)(6) Deposition of the Trustee of the BPA Trust,
Member of the Ad Hoc Cross-Holder Group;


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     A complete list of each of the Debtors in these Chapter 11 Cases may be obtained on the website of the
     Debtors’ claims and noticing agent at https://cases.stretto.com/Amyris. The location of Debtor Amyris Inc.’s
     principal place of business and the Debtors’ service address in these Chapter 11 Cases is 5885 Hollis Street,
     Suite 100, Emeryville, CA 94608.



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      14.    The Debtors’ Notice of 30(b)(6) Deposition of the Jarett Levan, Member of the
Ad Hoc Cross-Holder Group;
        15.   The Debtors’ Notice of 30(b)(6) Deposition of the Bennett R. Marshall, Member
of the Ad Hoc Cross-Holder Group; and
      16.    The Debtors’ Notice of 30(b)(6) Deposition of the Vigran Family and Related
Accounts, Member of the Ad Hoc Cross-Holder Group.


          PLEASE TAKE FURTHER NOTICE that the following depositions will still proceed

on a mutually agreeable date:

          1.        Debtors’ Notice of Deposition of John. E. Abdo;
       2.     The Debtors’ Notice of 30(b)(6) Deposition of Scott’s Cove Management, LLC, as
Investment Advisor to Scott’s Cove Special Credits Master Fund Inc., Member of the Ad Hoc
Cross-Holder Group;
          3.        Debtors’ Notice of Deposition of Thomas B. Milnes;
          4.        Debtors’ Notice of Deposition of Robert Reynolds; and
       5.     The Debtors’ Notice of 30(b)(6) Deposition of Alan B. Levan Revocable Trust
Dated June 10, 1999 as Amended and Restated, Member of the Ad Hoc Cross-Holder Group.


Dated: December 26, 2023                           PACHULSKI STANG ZIEHL & JONES LLP

                                                   /s/ James E. O'Neill
                                                   Richard M. Pachulski (admitted pro hac vice)
                                                   Debra I. Grassgreen (admitted pro hac vice)
                                                   Alan J. Kornfeld (admitted pro hac vice)
                                                   James E. O’Neill (DE Bar No. 4042)
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                                                   Counsel to the Debtors and Debtors in Possession




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